
65 So.3d 143 (2011)
Thomas J. HARRIS, Jr., II, Appellant,
v.
STATE of Florida, Appellee.
No. 5D10-316.
District Court of Appeal of Florida, Fifth District.
July 8, 2011.
Paul S. Horning and Tanya M. Dugree of Tanya M. Dugree, P.A., Tampa, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Douglas T. Squire, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
Thomas J. Harris, Jr., II, appeals his judgment and sentences for first degree murder and attempted robbery with a firearm, raising five issues. We find no reversible error and affirm. We do agree that the testimony of Deshay Jackson concerning the reason he refused to testify at the first trial should not have been admitted, but allowing the jury to hear the question and Deshay Jackson's answer, as limited by the trial court, was harmless. See State v. DiGuilio, 491 So.2d 1129, 1139 (Fla.1986).
AFFIRMED.
GRIFFIN, SAWAYA and COHEN, JJ., concur.
